      Debtors may request to receive Court notices and orders by email instead of U.S. mail. Sign Up at www.canb.uscourts.gov
Information to identify the case:
Debtor 1              Fatmata John                                                               Social Security number or ITIN            xxx−xx−6144
                      First Name   Middle Name     Last Name                                     EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                         Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                                 EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Northern District of California                       Date case filed in chapter 13                   12/26/18

Case number:          18−52831 MEH 7                                                             Date case converted to chapter 7               2/8/19


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                     12/15


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors
and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who want to have a particular
debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines specified in this notice. (See line 9
for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                                 About Debtor 1:                                               About Debtor 2:

 1.     Debtor's full name                       Fatmata John

 2.     All other names used in the aka Fatima Carew
        last 8 years

 3.    Address                                 3354 Casalegno Ct.
                                               San Jose, CA 95148

 4.    Debtor's attorney                       Paul Seabrook                                                   Contact phone (408)879−9039
                                               Seabrook Law Offices
       Name and address                        2055 Junction Ave. #138
                                               San Jose, CA 95131

 5.    Bankruptcy trustee                      Fred Hjelmeset                                                  Contact phone (650)386−5634
                                               P.O.Box 4188                                                    Email: fhtrustee@gmail.com
       Name and address                        Mountain View, CA 94040

 6.         Bankruptcy clerk's office                           280 South First Street                        Hours open: 9:00 am to 4:30 pm,
                                                                Room 3035                                     Monday − Friday
            Documents in this case may be filed at this         San Jose, CA 95113
            address. You may inspect all records filed in                                                     Contact phone: 408−278−7500
            this case at this office or online at
            www.pacer.gov.
                                                                                                              Date: 2/8/19
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1




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Debtor Fatmata John                                                                                                     Case number 18−52831 MEH 7


7. Meeting of creditors                                      March 12, 2019 at 09:00 AM                                            Location:

    Debtors must attend the meeting to be questioned         The meeting may be continued or                                       U.S. Federal Bldg.,
    under oath. In a joint case, both spouses must attend.   adjourned to a later date. If so, the date                            280 S 1st St. #130,
    Creditors may attend, but are not required to do so.
                                                             will be on the court docket.                                          San Jose, CA 95113
    Important Notice to Individual Debtors: The United States Trustee requires all debtors who are individuals to provide government−issued
    photo identification and proof of social security number to the trustee at the meeting of creditors. If a debtor fails to appear, your case may be
    dismissed without further notice.


8. Presumption of abuse                                      The presumption of abuse does not arise.

    If the presumption of abuse arises, you may have the
    right to file a motion to dismiss the case under 11
    U.S.C. § 707(b). Debtors may rebut the presumption
    by showing special circumstances.


9. Deadlines                                                 File by the deadline to object to                    Filing
                                                             discharge or to challenge whether                    deadline:
    The bankruptcy clerk's office must receive these         certain debts are dischargeable:                     5/13/19
    documents and any required filing fee by the
    following deadlines.
                                                             You must file a complaint:

                                                             • if you assert that the debtor is not entitled to
                                                               receive a discharge of any debts under any of
                                                               the subdivisions of 11 U.S.C. § 727(a)(2)
                                                               through (7),
                                                               or
                                                             • if you want to have a debt excepted from
                                                               discharge under 11 U.S.C § 523(a)(2), (4), or
                                                               (6).
                                                             You must file a motion:
                                                             • if you assert that the discharge should be
                                                               denied under § 727(a)(8) or (9).


                                                             Deadline to object to exemptions:                                     Filing deadline: 30
                                                             The law permits debtors to keep certain property                      days after the conclusion
                                                             as exempt. If you believe that the law does not                       of the meeting of creditors
                                                             authorize an exemption claimed, you may file an
                                                             objection.


10. Proof of claim                                         No property appears to be available to pay creditors. Therefore, please do not
                                                           file a proof of claim now. If it later appears that assets are available to pay
    Please do not file a proof of claim unless you receive creditors, the clerk will send you another notice telling you that you may file a
    a notice to do so.                                     proof of claim and stating the deadline.

11. Creditors with a foreign address                         If you are a creditor receiving a notice mailed to a foreign address, you may file
                                                             a motion asking the court to extend the deadlines in this notice. Consult an
                                                             attorney familiar with United States bankruptcy law if you have any questions
                                                             about your rights in this case.

12. Exempt property                                          The law allows debtors to keep certain property as exempt. Fully exempt
                                                             property will not be sold and distributed to creditors. Debtors must file a list of
                                                             property claimed as exempt. You may inspect that list at the bankruptcy clerk's
                                                             office or online at www.pacer.gov. If you believe that the law does not authorize
                                                             an exemption that the debtors claim, you may file an objection. The bankruptcy
                                                             clerk's office must receive the objection by the deadline to object to exemptions
                                                             in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                  page 2




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